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                         Exhibit B
                                 ]
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                                                                                                      -*5.-




                                        2013 Audi Models
                                       USA Warranty & Maintenance




                                                                                              Audi
                                                                            Vorsprung durch Technik
Case 1:21-cv-10546-ESK-EAP   Document 53-4        Filed 12/03/21                Page 3 of 33 PageID:
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                                     Warranty Voucher
                                     for your new Audi automobile.                           Warranty terms and conditions covering your
                                                                                             Audi are printed in the Warranty section of
                                     Present this voucher to an authorized Audi
                                                                                             this booklet.
                                     dealer if warranty service is required.



                                      Vehicle Identification
                                                No.


                                       Type / Engine Out­
                                       put/Transmission
                                      Code / Month & Year
                                         of Manufacture



                                      Engine Code / Engine
                                                No.
                                                                          Attach adhesive vehicle identification label in this field.
                                       Paint No. / Interior




                                      Optional Equipment




                                      Warranty begins on the month of first use of
                                      the vehicle or its delivery to the first retail
                                      purchaser, namely on:




                                          Month               Day              Year                 Authorized Audi Dealer Stamp
                                                                                                                  Table of contents   1
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                                        Welcome to Audi                                    Warranty package

                                                                                           -Audi provides New Vehicle Limited Warranty
                                        Your ownership
                                                                                             coverage for your vehicle. The warranty du­
                                        experience                                           ration is 4 years or 50,000 miles from your
                                                                                             vehicle's in-service date, whichever occurs
                                        Audi is committed to making your ownership
                                                                                             first, and covers defects in manufacturer's
                                        experience satisfying, pleasant, and trouble-
                                                                                             material and workmanship.
                                        free. This booklet serves as a guide to inform
                                                                                           - A Corrosion Perforation Warranty is part of
                                       you of the maintenance intervals as well as
                                                                                             your warranty coverage and extends for a
                                        the complimentary services, warranties, and
                                                                                             period of 12 years regardless of mileage.
                                        other benefits Audi extends to you.
                                                                                           - Emissions warranties, mandated by Federal
                                        Pre-delivery inspection                              and California laws, are also included in your
                                        Prior to delivery your authorized Audi dealer        warranty package. The extent of warranty
                                        completed an extensive and detailed inspec­          coverage for emission parts follows those

                                        tion of your vehicle. At delivery, you were pro­     mandates. To determine the coverage for

                                        vided with an owner’s literature package, an        your vehicle, read the emissions information

                                        introduction to the Service Department, and a        in this booklet and the California Emissions
                                       full demonstration of vehicle features. These         Warranty Supplement.
                                        services were performed to ensure your vehi­
                                                                                           Customer satisfaction and assistance
                                        cle meets Audi's high quality standards.
                                                                                           If you have questions or concerns about your
                                        First maintenance free of charge                   vehicle or service, discuss them first with
                                       To assist with your vehicle maintenance, Audi       management personnel at your authorized
                                        provides your first scheduled maintenance          Audi dealer. In the event your dealership does
                                        service free of charge. The maintenance is per­    not respond to your satisfaction, Audi offers
                                       formed at 1 year or 5,000 miles from your ve­       additional assistance.
                                        hicle's in-service date, whichever occurs first.   You may contact the Audi Customer Experi­
                                        The in-service date, as well as service items      ence Center via telephone or mail (please see
                                        performed can be found in the Maintenance          the"Customer Satisfaction and Assistance”
                                        section of this booklet. Please contact your       section in this booklet for contact informa­
                                        authorized Audi dealer to schedule this com­       tion). A Customer Advocate, in conjunction
                                        plimentary service. For Audi R8 vehicles,          with your authorized Audi dealer, will work
                                        please contact your authorized Audi dealer         with you to gather and review all the facts re­
                                        with the designation Audi R8 Certified Point       lating to your concern. When the review is
                                        or Audi R8 Service Point to schedule this com­     complete, the advocate will let you know what
                                        plimentary service.                                further action, if any, will be taken.

                                        24-Hour Roadside Assistance                        Complete details of the Customer Satisfaction
                                                                                           and Assistance programs are included in this
                                        As an Audi owner, you are provided with the
                                                                                           booklet.
                                        protection of a 24-Hour Roadside Assistance
                                        Program when you travel within the United
                                        States and Puerto Rico. It is available 24         General Owner Respon­
                                        hours a day, 365 days a year, and continues        sibilities
                                       for 4 years from your vehicle’s in-service date,
                                        regardless of mileage. Please see "The Audi         As you take delivery of your new Audi

                                        24-Hour Roadside Assistance Program” sec­          As you take delivery of your new Audi, it is
                                        tion of this booklet for additional informa­       important for you to be aware of things you        ►
                                        tion.
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                                       can do, which will help make owning an Audi       which are not Audi Genuine Parts, or any dam­
                                       as satisfying as driving one.                     age or return failures resulting from the use
                                                                                         of those parts, are not covered by any Audi
                                       Owner's Manual
                                                                                         warranty.
                                       Please become familiar with the information
                                                                                         Warranty coverage
                                       in your Owner’s Manual. The manual details
                                       procedures for proper vehicle operation, and      Audi’s confidence in its vehicles is demon­
                                       offers helpful tips for maintenance and care      strated by the extensive warranty package
                                       which can extend the life of parts such as the    provided for you. We recommend you read the
                                       convertible top, battery, and trim items.         full warranty information printed in this book­
                                                                                         let and the California Emissions Warranty
                                       Maintenance services
                                                                                         Supplement. To obtain service under this war­
                                       With proper maintenance and care, your Audi       ranty the vehicle must be brought upon dis­
                                       will continue to provide you with a dependa­      covery of a defect in manufacturer's material
                                       ble and safe driving experience. The Mainte­      or workmanship, to an authorized Audi dealer
                                       nance section of this booklet contains Audi’s     in the United States, including its territories,
                                       recommended service intervals as well as oth­     during normal business hours.
                                       er important information you need to know to
                                                                                         Audi R8 Warranty coverage
                                       care for your Audi properly. It is important
                                       that you retain the original copy of this book­   To ensure that all Audi R8 repairs and services
                                       let and always ensure that your authorized        are performed properly, all repair and service
                                       Audi dealer completes and stamps the corre­       work must be performed at an authorized
                                       sponding maintenance interval box when a          Audi dealer with the designation Audi R8 Cer­
                                       service is performed.                             tified Point or Audi R8 Service Point. Due to
                                                                                         the specialized tools, equipment, and techni­
                                       In all circumstances it is important you retain
                                                                                         cal training necessary to perform services and
                                       completed documents with details of mainte­
                                                                                         repairs, your Audi warranties do not cover
                                       nance services, as they may be required for
                                                                                         service, repair, or any damage resulting from
                                       warranty coverage in special situations. All
                                                                                         services or repairs performed at a facility that
                                       maintenance records should be given to the
                                                                                         is not an authorized Audi R8 Certified Point or
                                       new owner if your vehicle is sold.
                                                                                         Audi R8 Service Point.
                                       Although Audi will not deny a warranty claim
                                                                                         Audi Q5 hybrid Warranty coverage
                                       based solely on inadequate maintenance re­
                                       cords, the failure to produce maintenance re­     To ensure that all Audi Q5 hybrid component
                                       cords can be a factor in denying warranty cov­    repairs and services are performed properly,
                                       erage if the vehicle has not been properly        all repair and service work on the hybrid com­
                                       maintained.                                       ponents must be performed at an Audi Q5 hy­
                                                                                         brid certified dealer. To locate an Audi Q5 hy­
                                       Replacement parts
                                                                                         brid certified dealer near you, please refer to
                                       To maintain the superior quality built into       http://www.audiusa.com, or contact the Audi
                                       your vehicle, and to ensure optimum perform­      Customer Experience Center at: 1 (800)
                                       ance, Audi recommends you use only Audi           822-2834. Due to the specialized tools,
                                       Genuine Parts when you replace a part on your     equipment, and technical training necessary
                                       vehicle. Audi Genuine Parts are designed spe­     to perform services and repairs, your Audi
                                       cifically to fit your vehicle and manufactured    warranties do not cover service, repair, or any
                                       to the highest standard for reliability and du­   damage resulting from services or repairs per­
                                       rability. Your warranty coverage does not de­     formed at a facility that is not an Audi Q5 hy­
                                       pend upon the use of any particular brand of      brid certified dealer.
                                       replacement part; however replacement parts
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                                     929 Welcome to Audi
                                         Customer Satisfaction                              Audi of America, Inc.
                                                                                            Audi Customer Experience Center
                                         and Assistance
                                                                                            3800 Hamlin Road
                                         Quality, dependability, and peace of               Auburn Hills, MI 48326
                                         mind
                                                                                            When you call or write, please provide the fol­
                                         We are dedicated to ensuring that you enjoy        lowing information:
                                         exceptional quality, dependability, and peace
                                                                                            - Your name, address and telephone number
                                         of mind throughout your ownership experi­
                                                                                            -Vehicle Identification Number (VIN)
                                         ence, and your authorized Audi dealer should
                                                                                            - Vehicle delivery date and mileage
                                         be able to answer any questions regarding the
                                                                                            - Dealer’s name and location
                                         service and operation of your Audi. Your satis­
                                                                                            - Nature of concern or problem
                                         faction with our product and the service pro­
                                                                                            - Copies of all repair orders (if you are writing
                                         vided by your authorized Audi dealer is of
                                                                                             to us)
                                         great importance to us.
                                                                                            An Audi Customer Experience Advocate, in
                                         If you have a question about the service you
                                                                                            conjunction with your authorized Audi dealer,
                                         have received or a situation arises that you be­
                                                                                            will work with you to gather and carefully re­
                                         lieve has not been addressed to your satisfac­
                                                                                            view all facts relating to your request for as­
                                         tion, we recommend you contact your author­
                                                                                            sistance. When the review is complete, the
                                         ized Audi dealer.
                                                                                            Customer Advocate will inform you of any as­
                                         Audi dealer assistance                             sistance that Audi will be able to provide.

                                         Please discuss your question with the service      To further demonstrate our commitment to
                                         personnel or management at your authorized         our customers' satisfaction, there may be an
                                         Audi dealer. If necessary, ask the dealership      occasion when Audi may adjust its policy to
                                         owner or general manager for assistance.           pay for specific repairs that are no longer cov­
                                         Your authorized Audi dealer is closest to the      ered by warranty, or it may be necessary to
                                         situation and is in the best position to quickly   communicate other important information to
                                         resolve any concerns you may have.                 you. If that occurs, we will notify you by mail.
                                                                                            Therefore, it is important that you send us the
                                         Audi corporate assistance
                                                                                            card in the middle of this booklet if you
                                         In most cases, a satisfactory solution can be      change your address or if you purchase your
                                         reached through your authorized Audi dealer.       Audi from a previous owner.
                                         However, if your concern has still not been ad­
                                                                                            In the event you believe your authorized Audi
                                         dressed to your satisfaction, please contact
                                                                                            dealer or your Customer Advocate has been
                                         the Audi Customer Experience Center using
                                                                                            unable to satisfactorily address your concern,
                                         our toll free number:
                                                                                            Audi offers additional assistance through BBB
                                         Tel.: 1 (800) 822-2834 (available Mon-Fri: 8       AUTO LINE. BBB AUTO LINE is a dispute reso­
                                         a.m. to 9 p.m. EST)                                lution program administered by the Council of
                                                                                            Better Business Bureaus. For information
                                         Audi A8 and Audi R8 owners, please contact
                                                                                            about BBB AUTO LINE and state-specific con­
                                         the Audi Customer Experience Center at:
                                                                                            sumer protection laws, please see “Consumer
                                         Tel: 1 (866) 892-2834 (available 24 hours a        Protection Information" in this booklet.
                                         day/7 days a week)

                                         You may also write to us at:
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                                         The Audi 24-Hour Roadside Assistance                           the services provided by the Audi 24-Hour
                                         Program                                                        Roadside Assistance Program.

                                        The Audi 24-Hour Roadside Assistance Pro­
                                                                                                         In the event of a collision, the following
                                        gram is your assurance that help will be there
                                                                                                         suggestions may assist you
                                        should your Audi become disabled due to a
                                        mechanical breakdown under normal^' driving                     - Stop in a safe, well-lit area (no matter how
                                        ■conditions or in the event of a collision.                       minor the accident).

                                        Due to technical differences and unique tow­                    - Notify the local police. Ask for an ambulance
                                                                                                          if necessary.
                                        ing requirements, Audi R8 and AS vehicles
                                        have a separate toll-free number for Audi 24-                   - Have your driver's license, registration, and
                                    i   Hour Roadside Assistance.                                         insurance information ready when the police
                                                                                                         arrive.
                                        Audi 24-Hour Road­              Audi 24-Hour Road­              - Write down the names and numbers of any
                                         side Assistance                side Assistance                  witnesses and information of anyone who
                                                                        (Audi R8 and A8 on­               may have been injured.
                                                                        ly)                             - If you have a camera, take pictures to docu­
                                         1(800)411-9988 -               1 (866)47!                        ment the vehicles in the scene. Consider car­
                                                                                                          rying a disposable camera in the glove com­
                                        Please have your Vehicle Identification Num­
                                                                                                          partment for this purpose.
                                        ber (VIN) ready to provide to the dedicated
                                        Roadside Customer Service Professional. This                    If necessary, contact Audi 24-Hour Roadside
                                I       number can be found on the driver’s side of                     Assistance at 1 (800) 411-9988 to have your
                                        the dashboard visible through the windshield,                   vehicle towed to your nearest Audi Authorized
                                        on your vehicle registration/insurance papers,                  Collision Repair Facility. For Audi R8 and A8
                                        or in your Audi MMI system under function                       vehicles only, contact Audi 24-Hour Roadside
                                        button CAR, if equipped. 24-Hour Roadside                       Assistance at 1 (866) 478-3456 to have your
                                        Assistance is available to you for the first four               vehicle towed to the nearest Audi Authorized
                                        years of your new vehicle ownership.                            Aluminum Collision Repair Facility.

                                        The Audi 24-Hour Roadside Assistance Pro­                       For assistance in locating the nearest Audi Au­
                                        gram includes the following emergency road­                     thorized Collision Repair Facility, please con­
                                        side services: Emergency towing (disablement                    tact the Audi Customer Experience Center
                                        or collision), battery jump start, flat tire                    (available Mon-Fri: 8 a.m. to 9 p.m. EST) at: 1
                                        change, emergency fuel service, lock-out serv­                  (800) 822-2834.
                                        ice, and extrication/winch service.
                                                                                                        Audi R8 and Audi A8 owners: For assistance in
                                        Other services and benefits include trip inter­                 locating the nearest Audi Authorized Alumi­
                                        ruption benefits throughout the United States                   num Collision Repair Facility, please contact
                                        and Puerto Rico.                                                the Audi Customer Experience Center (availa­
                                                                                                        ble 24 hours a day/7 days a week) at: 1 (866)
                                        Please refer to your Audi 24-Hour Roadside
                                                                                                        892-2834.
                                        Assistance Guide for more specific details on




                                        1)   Coverage does not include service to any vehicle will­
                                             fully driven into non-regularly traveled areas including
                                             but not limited to, open fields, construction sites,
                                             beaches, mud-filled driveways, vacant lots, or any oth­
                                             er area that is inaccessible or hazardous for the Road­
                                             side Assistance Service Operator's vehicle to reach.
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                                                   Audi                      Page 9 of 33 PageID:
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                                          Audi AS, A8L, and R8 body and space
                                          frame repairs

                                         The aluminum design and construction of
                                         your Audi A8, A8L, or R8 demands that repairs
                                         to the body and space frame, which become
                                         necessary as a result of collision or other dam­
                                         age, be performed at an Audi approved Alumi­
                                         num Collision Repair Facility that is author­
                                         ized by Audi to perform these repairs.

                                         If your Audi A8, A8L, or R8 has been in an ac­
                                         cident and cannot be safely driven, and is
                                         within the New Vehicle Limited Warranty peri­
                                         od, Audi will transport the vehicle free of
                                         charge to the nearest Audi approved Alumi­
                                         num Collision Repair Facility; and once re­
                                         paired, will return the vehicle to your Audi
                                         dealership. Ask your authorized Audi dealer
                                         for details.

                                         While you may elect to take the vehicle to a
                                         non-approved Audi repair facility at your own
                                         expense, Audi will not accept liability for any
                                         damages or incorrect repairs, including corro­
                                         sion, resulting from aluminum body and space
                                         frame repairs that are not performed in ac­
                                         cordance with Audi-specified procedures.


                                          Audi TT/TTS Coupe,TT/TTS Roadster, and
                                          TT RS body repairs

                                         The aluminum / steel design and construction
                                         of your Audi TT/TTS Coupe, TT/TTS Roadster
                                         and TT RS demands that repairs to the body
                                         and space frame, which become necessary as
                                         a result of collision or other damage, be per­
                                         formed at an Audi approved Aluminum Colli­
                                         sion Repair Facility that is authorized by Audi
                                         to perform these repairs.

                                         While you may elect to take the vehicle to a
                                         non-approved Audi repair facility at your own
                                         expense, Audi will not accept liability for any
                                         damages or incorrect repairs, including corro­
                                         sion, resulting from steel / aluminum body
                                         and space frame repairs that are not per­
                                         formed in accordance with Audi-specified pro­
                                         cedures.
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                                        Warranty                                             covered for defects in manufacturer’s material
                                                                                             and workmanship for 12 months or 12,000
                                        New Vehicle Limited                                  miles, whichever occurs first. These items in­
                                        Warranty                                             clude, but are not limited to, windshield wiper
                                                                                             blades, filters, belts, paint finish, worn up­
                                         Warranty period                                     holstery, and other trim and appearance
                                                                                             items.
                                        Any authorized Audi dealer in the United
                                        States, including its territories, will honor this   Items subject to adjustment
                                :1 i
                                        warranty for a period of 4 years or 50,000
                                                                                             The warranty covers service adjustments for
                                        miles, whichever occurs first. For Audi R8
                                    1
                                                                                             the full warranty period with the exception of
                                        vehicles, the authorized Audi dealer must also
                                                                                             wheel alignment and tire balancing which are
                                        have the designation Audi R8 Certified Point
                                                                                             covered 12 months or 12,000 miles, whichev­
                                        or Audi R8 Service Point. For Audi Q5 hybrid
                                                                                             er occurs first. A service adjustment is defined
                                        components repairs, the authorized Audi deal­
                                                                                             as an adjustment that is needed when an item
                                        er must also have the designation Audi Q5 hy­
                                                                                             on the vehicle comes from the factory improp­
                                        brid certified dealer. The warranty period be­
                                                                                             erly set to specification. Usually no parts are
                                        gins on the date the vehicle is delivered to ei­
                                                                                             involved when making an adjustment.
                                        ther the original purchaser or the original les­
                                        see; or if the vehicle is first placed in service    Warranty repair while traveling in Canada
                                        as a demonstrator or company car, on the
                                1                                                            Warranty repair while traveling in Canada
                                        date such vehicle is first placed in service.
                                                                                             should be performed free of charge by an au­
                                        You are required to use the BBB AUTO LINE            thorized Audi dealer. Proof of U.S. residence is
                                        procedure before pursuing any legal remedy           required. If the authorized Audi dealer is un­
                                        under 15 U.S.C. 2310(d) with respect to the          able to submit a claim for repairs, you may be
                                        New Vehicle Limited Warranty. You may also           asked to pay for the repair. On your return to
                                        be required to use the BBB AUTO LINE proce­          the United States, present the paid receipt(s),
                                        dure before pursuing legal remedies under            repair order(s), and part(s) removed from your
                                        your state lemon law. Please refer to the Con­       vehicle to your authorized Audi dealer, who
                                        sumer Protection Information section of this         will submit a claim on your behalf and obtain
                                        booklet for more information.                        reimbursement for you.

                                                                                             Emergency repairs
                                         What is covered
                                                                                             Emergency repairs performed by a non-Audi
                                        The warranty covers any repair or replacement        service facility will be reimbursed if the repair
                                        to correct a defect in manufacturer’s material       work was needed and correctly performed,
                                        and workmanship. Your authorized Audi deal­          and it was impossible or unreasonable under
                                        er will repair the defective part or replace it      the circumstances to tow or drive your Audi to
                                        with a new or remanufactured Audi Genuine            the nearest authorized Audi dealer. The maxi­
                                I       Part free of charge.                                 mum reimbursement allowable is an amount
                                        The warranty covers the replacement of fil­          equal to the cost if your authorized Audi deal­
                                        ters, oil, lubricants, fluids, and coolant only      er had completed the repair(s). Reimburse­
                                        when the replacement is a necessary part of          ment will be considered when the following
                                        warranty service on a covered component.             items are submitted to your authorized Audi
                                                                                             dealer;
                                        Items subject to normal wear
                                t                                                            - A statement explaining the circumstances
                                        Items that are subject to deterioration due to
                                                                                              that prevented you from getting to an au­
                                        normal wear, driving habits or conditions are
                                                                                              thorized Audi dealer                               ►
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                                        Warranty                                    Page 11 of 33 PageID:
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                                        - Paid receiptCs)                                           Parts which are not Audi Genuine Parts
                                        - Repair orderCs)                                           While you may elect not to use Audi Genuine
                                        - Part(s) removed from your Audi                            Parts for repair or maintenance services, Audi
                                                                                                    is not obligated to pay for repairs that do not
                                        Audi R8 Emergency Repairs
                                                                                                    include Audi Genuine Parts, or for any damage
                                        Emergency repairs for the Audi R8 must be                   resulting from the use of non-genuine parts.
                                        performed at an authorized Audi dealer with                 Audi will not accept any liability for any parts
                                        the designation Audi R8 Certified Point or                  and accessories not approved by Audi.
                                        Audi R8 Service Point. Contact Audi R8 Road­
                                        side Assistance to have the vehicle safely                  Other exclusions - New Vehicle Limited
                                        transported to the nearest Audi R8 Certified                Warranty
                                        Point or Audi R8 Service Point. Please see "The             - Damage or malfunction caused by improper
                                        Audi 24-Hour Roadside Assistance Program’’                    repair, accident, collision, or vandalism.
                                        section of this booklet for contact informa­                - Damage or malfunction caused by failure to
                                        tion.                                                        operate the vehicle in accordance with the
                                                                                                     Owner's Manual, including failure to heed
                                        Audi Q5 hybrid Emergency Repairs
                                                                                                     warning lights or gauges that indicate vehi­
                                        Emergency repairs for the Audi QS hybrid                     cle malfunction.
                                        components must be performed at an Audi                     - Damage or malfunction caused by failure to
                                        QS hybrid certified dealer. Contact Audi Road­               maintain the vehicle in accordance with the
                                        side Assistance to have the vehicle safely                    Maintenance section of this booklet, unless
                                        transported to the nearest Audi QS hybrid cer­               documents in the form of service or repair
                                        tified dealer. Please see "The Audi 24-Hour                  orders are submitted as proof that all sched­
                                        Roadside Assistance Program’’section of this                 uled maintenance was performed in a timely
                                        booklet for contact information.                             manner. 1'.
                                                                                                    - Damage due to failure to take the vehicle to
                                         What is not covered                                         an authorized dealer upon discovery of a de­
                                                                                                     fect in manufacturer’s material or workman­
                                        Maintenance services
                                                                                                     ship. Audi R8 only: Damage due to failure to
                                        The warranty does not cover manufacturer re­                 take the vehicle to an authorized dealer with
                                        quired regularly scheduled maintenance serv­                 the designation Audi R8 Certified Point or
                                        ices detailed in the Maintenance section of                  Audi R8 Service Point upon discovery of a
                                        this booklet, or service parts, fluids, and labor            defect in manufacturer’s material or work­
                                        for such services.                                           manship. Audi Q5 hybrid only: Damage due
                                                                                                     to failure to take the vehicle to an Audi Q5
                                        Tires
                                                                                                     hybrid certified dealer upon discovery of a
                                        The tire manufacturer warrants tires. To assist              defect in manufacturer’s material or work­
                                        you in obtaining warranty information for                    manship.
                                        tires, a list of manufacturers is provided in               - Damage or malfunction caused by altera­
                                        this booklet.                                                tions to the original engineering such as
                                                                                                     suspension or performance modification.           ►



                                        U If maintenance services are performed by someone
                                          Other than an authorized Audi dealer, information on
                                          the service or repair order document must include, at
                                          a minimum, the Vehicle Identification Number (VIN),
                                          service center or retailer name and address, vehicle
                                          mileage, date of service or purchase, and List of serv­
                                          ice or purchase items.
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                                        - Damage or malfunction caused by misuse             or parts and accessories that are imported or
                                          such as racing, competitive events, or driv­       distributed by Audi, and vehicles originally
                                          ing over curbs.                                    sold by an authorized Audi dealer in the Unit­
                                        - Damage or malfunction caused by using              ed States, including its territories. This war­
                                          contaminated or improper fuel, operation           ranty is only applicable in the United States
                                         fluids, or other chemicals, and intentional or      and its territories. An authorized Audi dealer
                                          unintentional misfueling.                          in any other country has no obligation to pro­
                                        - Damage or malfunction caused by the envi­          vide warranty service to your vehicle. If you
                                          ronment such as road salt, bird droppings,         are using your vehicle outside the United
                                          acid rain, fire, or weather conditions.            States and its territories, and experience a
                                        - Incidental or consequential damage such as         problem with your vehicle, we recommend
                                    I
                                          loss of value of the vehicle, lost profits or      that you contact the local Audi dealer. You
                                          earnings, and out of pocket expenses for           should always have the original United States
                                          substitute transportation or lodging. Some         Warranty and Maintenance Booklet, complete
                                         states may not allow the exclusion or limita­       with the appropriate stamped maintenance
                                         tion of incidental or consequential damage,         services, available for the local Audi dealer.
                                         so this limitation or exclusion may not apply
                                                                                             The New Vehicle Limited Warranty and Limit­
                                         to you.
                                                                                             ed Warranty Against Corrosion Perforation are
                                        -Appearance care and maintenance such as             transferred, without cost, if ownership of the
                                          cleaning and polishing.
                                                                                             vehicle changes within the warranty period.
                                        - Noise, vibration, cosmetic conditions, and
                                         other deterioration caused by normal wear.          The New Vehicle Limited Warranty, Limited
                                                                                             Warranty Against Corrosion Perforation, and
                                        - This warranty does not cover the replace­
                                                                                             the Emissions Warranties are the only express
                                          ment of any Hybrid System components
                                                                                             warranties made in connection with the sale
                                         that wear as a result of normal wear or dete­
                                                                                             of this Audi. Any implied warranty, including
                                          rioration, driving habits, or driving condi­
                                                                                             any warranty of merchantability or warranty
                                         tions.
                                                                                             of fitness for a particular purpose, is limited
                                        - Commercial Use (Q5 hybrid only)- this limit­
                                                                                             in duration to the stated period of these writ­
                                         ed warranty does not apply to vehicles used
                                                                                             ten warranties.
                                         for commercial purposes including but not
                                          limited to taxi, courier or delivery service, or   Some states do not allow limitations on how
                                          limousine. If a commercial vehicle is sold to      long an implied warranty lasts, so the above
                                         a subsequent retails owner, this warranty           limitations may not apply to you. This warran­
                                         still does not apply.                               ty gives you specific legal rights and you may
                                                                                             also have other rights, which vary from state
                                        This warranty is void if the vehicle identifica­
                                                                                             to state.
                                        tion number or odometer has been altered,
                                        or the actual mileage cannot be determined,          Neither Audi nor the manufacturer assumes,
                                        and when a vehicle is reported as disman­            or authorizes any person to assume, any other
                                        tled, fire/flood damaged, junk, rebuilt, re­         obligation or liability on its behalf.
                               .1
                                        constructed, salvaged, or declared a total
                                                                                             Audi reserves the right to make improvements
                                        loss by an insurer.
                                                                                             or change the design of any model Audi vehi­
                                                                                             cle at any time with no obligation to make
                                        General warranty terms - New Vehicle                 similar changes on vehicles already sold.
                                        Limited Warranty
                                                                                             All warranty information is the latest availa­
                                        Audi of America, Inc., an operating unit of          ble at the time of publication and, with the
                                        Volkswagen Group of America, Inc. ("Audi") is­       exception of the emission control warranties,
                                        sues this warranty. It only applies to vehicles      is subject to change without notice.
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                                  lO
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                                        Limited Warranty                                     include Audi Genuine Parts or for any damage
                                                                                             resulting from the use of non-genuine parts.
                                        Against Corrosion
                                                                                             Audi will not accept any liability for any parts
                                        Perforation                                          and accessories not approved by Audi.
                                        Warranty period
                                                                                             Paint repair
                                        Any authorized Audi dealer in the United             Your authorized Audi dealer will do its best to
                                        States, including its territories, will honor this   match your vehicle’s original finish. The cost
                                        warranty for a period of 12 years without            of painting the entire vehicle solely for paint
                                        mileage limitation. For Audi R8 vehicles, the        matching is not covered by this warranty.
                                        authorized Audi dealer must also have the
                                        designation Audi R8 Certified Point or Audi R8       Other exclusions - Limited Warranty
                                                                                             Against Corrosion Perforation
                                        Service Point. For Audi QS hybrid component
                                        repairs, the authorized Audi dealer must also        -Surface corrosion without perforation of the
                                        have the designation Audi QS hybrid certified          body sheet metal
                                        dealer. The warranty period begins on the            - Corrosion perforation resulting from failure
                                        date the vehicle is delivered to either the orig­     to promptly repair paint or undercoating
                                        inal purchaser or the original lessee; or if the      damage, or surface corrosion
                                        vehicle is first placed in service as a demon­       - Corrosion perforation resulting from unre­
                                        strator or company car, on the date such vehi­         paired collision or accident damage, or fail­
                                        cle is first placed in service.                       ure to perform body repairs in accordance
                                                                                              with Audi’s specified repair procedures, in­
                                         What is covered                                      cluding use of non-aluminum alloy parts

                                                                                             This warranty is void if the vehicle identifica­
                                        The warranty covers any repair or replacement
                                                                                             tion number or odometer has been altered,
                                        to correct a defect in manufacturer’s material
                                                                                             or the actual mileage cannot be determined,
                                        and workmanship that will result in rust per­
                                                                                             and when a vehicle is reported as disman­
                                        foration of the vehicle body. Your Audi dealer
                                                                                             tled, fire/flood damaged, junk, rebuilt, re­
                                        will repair the defective part or replace it with
                                                                                             constructed, salvaged, or declared a total
                                        a new or remanufactured Audi Genuine Part
                                                                                             loss by an insurer.
                                        free of charge.
                                                                                             Other exclusions as defined in the New Vehi­
                                         What is not covered                                 cle Limited Warranty also apply to this war­
                                                                                             ranty.
                                        Failure to rustproof when collision
                                        damage is repaired
                                                                                              General warranty terms
                                        Body parts repaired or newly installed after a
                                        collision must be treated with a rustproofing        General warranty terms as defined in the
                                        agent that is compatible with and comparable         New Vehicle Limited Warranty also apply to
                                        to Audi’s own factory corrosion protection.          this warranty.
                                        Corrosion perforation resulting from failure to
                                        protect new or repaired parts as stated, or us­      Federal and California
                                        ing an inferior rustproofing agent or method
                                                                                             Emissions Warranties
                                        is not covered by this warranty.
                                                                                              General warranty information
                                        Parts which are not Audi Genuine Parts
                                                                                             The Emissions Warranties set out on the fol­
                                        While you may elect not to use Audi Genuine
                                                                                             lowing pages are warranties which the manu­
                                        Parts for maintenance or repair services, Audi
                                                                                             facturer is required by law to furnish to you at ►
                                        is not obligated to pay for repairs that do not
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                                       the time you take delivery of your new vehicle.   Audi of America, Inc.
                                       These coverages may also be included in the       Audi Customer Experience Center
                                       Audi 4 years / 50,000 miles New Vehicle Lim­      3800 Hamlin Road
                                       ited Warranty.                                    Auburn Hills, MI 48326

                                       The warranties required by Federal laws apply
                                                                                         Tel.: 1 (800) 822-2834 (available Mon-Fri: 8
                                       to all new Audi vehicles imported and distrib­
                                                                                         a.m. to 9 p.m EST)
                                       uted by Audi of America, Inc., an operating
                                                                                         Tel.: 1 (866) 892-2834 (For A8 and R8 own­
                                       unit of Volkswagen Croup of America, Inc.
                                                                                         ers. Available 24 hours a day/7 days a week)
                                       ("Audi") for sale in the United States, includ­
                                       ing its territories. The warranties required by
                                                                                         Refer to the California Emissions Warranty
                                       the State of California law apply to all new
                                                                                         Supplement for additional information on
                                       Audi vehicles imported and distributed by
                                                                                         California emissions warranty coverage.
                                       Audi for sale and registration in the States of
                                       California, Connecticut, Maine, Maryland, New
                                                                                          Federal Emissions Control System
                                       jersey, Oregon, Rhode Island, Vermont, Wash­
                                                                                          Defect Warranty
                                       ington, and the Commonwealths of Massa­
                                       chusetts and Pennsylvania. Therefore, the         For 2 Years or 24,000 miles
                                       owner of an above mentioned vehicle may
                                                                                         Audi of America, Inc., an operating unit of
                                       have warranty rights under both Federal and
                                                                                         Volkswagen Group of America, Inc. ("Audi"),
                                       State mandated emissions warranties.
                                                                                         the authorized United States importer of Audi
                                       The State of New York has adopted emissions       vehicles, warrants to the original retail pur­
                                       warranty requirements identical to California     chaser or original lessee and any subsequent
                                       mandated emissions warranties ONLY for            purchaser or lessee that every model year
                                       vehicles equipped to meet California's Partial    2013 Audi vehicle imported by Audi:
                                       Zero Emission Vehicle (PZEV) requirements,
                                                                                         - was designed, built and equipped so as to
                                       as identified on the Vehicle Emission Control
                                                                                          conform at the time of sale with all applica­
                                       Information Label located under the hood.
                                                                                           ble regulations of the United States Environ­
                                       Therefore, the owner of an Audi equipped to
                                                                                           mental Protection Agency (EPA), and
                                       meet California's PZEV emissions require­
                                                                                         - is free from defects in material and work­
                                       ments and imported and distributed by Audi
                                                                                           manship which causes the vehicle to fail to
                                       for sale and registration in New York may have
                                                                                          conform with EPA regulations for 2 years af­
                                       warranty rights under both Federal and State
                                                                                          ter the date of first use or delivery of the ve­
                                       mandated emissions warranties.
                                                                                           hicle to the original retail purchaser or origi­
                                       Please read these warranties carefully. If you      nal lessee or until the vehicle has been driv­
                                       have any questions concerning the applicabili­      en 24,000 miles, whichever occurs first.
                                       ty of each warranty to your vehicle or want to
                                                                                         A warranted part is any part installed on a
                                       know whether a particular repair will be per­
                                                                                         motor vehicle or motor vehicle engine by the
                                       formed free of charge pursuant to these war­
                                                                                         vehicle or engine manufacturer, or installed in
                                       ranties, please write to or telephone;
                                                                                         a warranty repair, which affects any regulated
                                                                                         emission from a motor vehicle or engine
                                                                                         which is subject to EPA emission standards.
                                                                                         The following parts or systems listed, if defec­
                                                                                         tive, could cause the vehicle to fail to conform
                                                                                         with EPA regulations:                                ►
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                                          - Evaporative Emission Control System: in­          - Engine Electronic Control Module
                                            cluding fuel tank, filler cap, filler neck and    - On-Board Diagnostic Device
                                            leak detection pump
                                                                                              For Audi R8 vehicles, the authorized Audi
                                          - Exhaust System: including manifolds, turbo­
                                                                                              dealer must also have the designation Audi R8
                                            chargers, catalytic converters, down pipes
                                                                                              Certified Pointer Audi R8 Service Point.
                                            and particulate filters
                                          - EGR System: including valves, pipes and           For Audi QS hybrid components, the author­
                                            coolers                                           ized Audi dealer must be an Audi QS hybrid
                                          - Fuel Injection System: including control          certified dealer.
                                            modules, sensors, switches, valves and fuel
                                            lines                                             Federal Emissions Performance
                                          - Intake System: including camshaft adjuster        Warranty: For 2 years or 24,000 miles
                                            units, sensors, manifold, pipes and control       and 8 years or 80,000 miles
                                            valves
                                                                                              Audi of America, Inc., an operating unit of
                                          - Ignition System: including coils and sensors
                                                                                              Volkswagen Group of America, Inc. ("Audi")
                                          - OBD System: including Malfunction Indica­         warrants to the original retail purchaser or
                                            tor Lamp (MIL) and Data Link Connector            original lessee of a model year 2013 Audi ve­
                                          - PCV System: including control valves and          hicle and any subsequent purchaser or lessee
                                            pipes                                             of the vehicle that if the following conditions
                                          - Secondary Air Injection System: including         are met, any authorized Audi dealer (for Audi
                                            air pump and control valves                       R8 vehicles, the authorized Audi dealer must
                                          - Emission-related hoses, gaskets, clamps           also have the designation Audi R8 Certified
                                            and other accessories used with the above         Point or Audi R8 Service Point and for Audi QS
                                            components                                        hybrid component repairs, the authorized

                                          The obligation of Audi under this warranty is       Audi dealer must be an Audi QS hybrid certi­

                                          limited, however, to the following: If within       fied dealer) in the United States, including its

                                          this period a defect in material or workman­        territories, will remedy any nonconformity, as

                                          ship causes the vehicle to fail to conform with     determined below, free of charge, under the

                                           EPA regulations and the vehicle is brought to      following conditions:

                                          the workshop of any authorized Audi dealer in       - The vehicle fails to conform at any time dur­
                                          the United States, including its territories, the     ing 2 years or 24,000 miles, whichever oc­
                                          dealer will make repairs as may be required by        curs first, to applicable emission inspection
                                          these regulations free of charge. For Audi R8         standards as determined by an EPA Ap­
                                          vehicles, the authorized Audi dealer must also        proved State Inspection and Maintenance
                                           have the designation Audi R8 Certified Point         Test (I/M), or
                                          or Audi R8 Service Point. For Audi Q5 hybrid        - If the vehicle has been in use for more than
                                          components, the authorized Audi Dealer must           2 years or 24,000 miles, but less than 8
                                           be an Audi QS hybrid certified dealer.              years or 80,000 miles, whichever occurs
                                                                                                first, the vehicle fails an I/M Test resulting
                                           For 8 Years or 80,000 miles
                                                                                                from a malfunction of a catalytic converter,
                                          If the vehicle has been in use for more than 2        engine electronic control module or on­
                                          years or 24,000 miles, but less than 8 years or       board diagnostic device (OBD), and
                                           80,000 miles, whichever occurs first, your au­     - The failure of the I/M Test requires the vehi­
                                          thorized Audi dealer will repair or replace free      cle owner to bear any penalty or other sanc­
                                           of charge the following major emission con­          tion, including the denial of the right to use
                                          trol components only:                                 the vehicle under local, state or Federal law.
                                          - Catalytic Converter/Diesel Particulate Filter       and                                              ►
                                i
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                                        - The vehicle has been maintained and operat­       Audi may deny an emission performance war­
                                          ed in accordance with Audi's instructions for     ranty claim on the basis that a replacement
                                          proper maintenance and use.                       part not certified by the EPA was used in the
                                                                                            maintenance or repairof the vehicle if Audi
                                         Performance Warranty claim approval                can prove that the non-certified part is either
                                                                                            defective in materials or workmanship, or not
                                        You may raise a claim under this warranty im­       equivalent from an emission standpoint to the
                                        mediately after your vehicle has failed an I/M      original part, and you are not able to offer in­
                                        Test if, as a result of that failure, you are re­   formation that the part is either not defective
                                        quired by law to repair the vehicle to avoid im­    or equivalent to the original part with respect
                                        position of a penalty or cancellation of your       to its emission performance.
                                        right to use the vehicle. You need not actually
                                                                                            Audi will not deny a claim relating to:
                                        suffer the loss or lose the right to use your ve­
                                        hicle or pay for the repair before presenting       - Warranty work or pre-delivery service per­
                                        your claim.                                           formed by an authorized Audi dealer
                                                                                            - Work performed in an emergency to rectify
                                        Claims may be presented only by bringing
                                                                                              an unsafe condition attributable to Audi,
                                        your vehicle to any authorized Audi dealer in
                                        the United States, including its territories. For     provided you have taken steps in a timely
                                                                                              manner to put the vehicle back into a con­
                                        Audi R8 vehicles, the authorized Audi dealer
                                                                                              forming condition
                                        must also have the designation Audi R8 Certi­
                                        fied Point or Audi R8 Service Point. For Audi       -The use of an uncertified part or to noncom­
                                        Q5 hybrid vehicle components, the dealer              pliance with the instructions for proper

                                        must be an Audi Q5 hybrid certified dealer.           maintenance and use, which is not related
                                        The dealer will honor or deny your claim with­       to the I/M Test failure
                                        in a reasonable time, not to exceed thirty (30)
                                        days, from the time at which your vehicle is         Additional Information About Your
                                        presented for repair or within any time period       Federal Emissions Warranties
                                        specified by local, state or Federal law, which­
                                                                                            Warranty period
                                        ever is shorter, except when a delay is caused
                                        by events not attributable to Audi or the deal­     The warranty period begins on the date the
                                        er. If the dealer denies your claim, you will be    vehicle is delivered to the original retail pur­
                                        notified in writing of the reasons for rejecting    chaser or original lessee, and any subsequent
                                        the claim. If you do not receive notice of deni­    purchaser or lessee or, if the vehicle is first
                                        al of your claim within the above time period,      placed in service as a demonstrator or compa­
                                        Audi is required by law to honor the claim.         ny demonstrator or company car prior to de­
                                                                                            livery, on the date it is first placed in service.
                                        Under certain circumstances, your claim may
                                        be denied because you have failed to comply         Proper maintenance and use
                                    1
                                        with instructions for scheduled maintenance         Instructions for proper maintenance are con­
                                        contained in the Maintenance section of this
                                                                                            tained in the Maintenance section of this
                                        booklet. In determining whether you have
                                    \                                                       booklet. Time and mileage intervals, at which
                                        complied with the instructions for scheduled
                                                                                            maintenance is to be performed, may vary
                                        maintenance and proper use, Audi may re­            from model to model.
                                        quire you to furnish proof of compliance only
                                        with those maintenance instructions which           Audi recommends you keep a record of sched­
                                        Audi has reason to believe were not per­            uled maintenance by having the Maintenance
                                        formed and which could be the cause of the 1/       section of this booklet validated at the ap­
                                        M Test failure.                                     proximate time or mileage intervals by the au­
                                                                                            thorized Audi dealer or other service facility       ►
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                                         that performed the maintenance. If you per­       such services. The cost of such services, how­
                                         form the maintenance yourself, keep all docu­     ever, is not covered by these warranties except
                                         mentation as proof you have performed the         in emergencies. If the independent service es­
                                         maintenance at the approximate time or mile­      tablishment finds a warrantable defect, you
                                         age intervals recommended, that you have          may deliver the vehicle to an authorized Audi
                                         used proper parts, and that you were able to      dealer and have the defect corrected free of
                                        ■perform the maintenance properly.                 charge. Audi R8 only: you may deliver the ve­
                                                                                           hicle to an authorized Audi dealer with the
                                         Failure to maintain your vehicle according to
                                                                                           designation Audi R8 Certified Point or Audi R8
                                         the instruction for proper maintenance may
                                                                                           Service Point and have the defect corrected
                                         cause the vehicle to exceed applicable emis­
                                                                                           free of charge. Audi Q5 hybrid only: you may
                                         sions standards and could result in denial of
                                                                                           deliver the vehicle to an Audi Q5 hybrid certi­
                                         warranty coverage. However, Audi will not de­
                                                                                           fied dealer and have the defect corrected free
                                         ny a warranty claim solely on the basis of your
                                                                                           of charge. Audi will not be liable for any ex­
                                         failure to maintain the vehicle according to
                                                                                           penses that you have incurred at the inde­
                                         the instructions or failure to keep a record of
                                                                                           pendent service establishment, except for
                                         maintenance.
                                                                                           emergency repairs. See “Emergency Repairs"
                                         Instructions for proper use of the vehicle are    for further details.
                                         contained in your Audi Owner's Manual.
                                                                                           Parts not scheduled for inspection or
                                         Use of Audi Genuine Parts                         replacement

                                         Audi recommends that Audi Genuine Parts be        Any part, which is not scheduled for inspec­
                                         used as replacement parts for the mainte­         tion or replacement at maintenance intervals
                                         nance, repair or replacement of emission con­     specified in the Maintenance section of this
                                         trol systems. Use of replacement parts which      booklet, is covered by this warranty for the
                                         are not equivalent to Audi Genuine Parts in       full warranty period.
                                         emission performance and durability may im­
                                                                                           Scheduled part inspection or replacement
                                         pair the effectiveness of emission control sys­
                                         tems. Although use of parts other than Audi       A part scheduled only for inspection in accord­
                                         Genuine Parts does not invalidate these war­      ance with Audi's instructions or required
                                         ranties, Audi assumes no liability under these    scheduled maintenance is covered for the du­
                                         warranties for failure of such parts and dam­     ration of these warranties.
                                         age to other parts caused by such failure.
                                                                                           A part installed in accordance with Audi's in­
                                         EPA certified replacement parts                   structions or required scheduled maintenance
                                                                                           is warranted until the next scheduled replace­
                                         Maintenance, repair, or replacement of emis­
                                                                                           ment interval or for the duration of these war­
                                         sion control devices and systems may be per­
                                                                                           ranties.
                                         formed by any automotive service and repair
                                         establishment or qualified individual using       Damage to non-warranty parts
                                         Environmental Protection Agency (EPA) certi­
                                                                                           If failure of a warranted part causes damage
                                         fied replacement parts.
                                                                                           to a part not covered by warranty, the non-
                                         Maintenance and repairs performed by              warranted part will also be replaced free of
                                         independent service shops                         charge.

                                         Without invalidating these warranties, you        Emergency repairs
                                         may choose to have maintenance, repair, or
                                                                                           Emergency repairs performed by a non-Audi
                                         replacement of emission control components
                                                                                           service facility will be reimbursed if the repair
                                         performed by any automotive service estab­
                                                                                           work was needed and correctly performed.            ►
                                         lishment or individual qualified to perform
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                                                                                                                               Warranty             15

                                        and it was impossible or unreasonable under       sis and repair of such damage are at the ex­
                                        the circumstances to tow or drive your Audi to    pense of the owner.
                                        the nearest authorized Audi dealer. The maxi­
                                                                                          Implied warranties
                                        mum reimbursement allowable is an amount
                                        equal to the cost if your authorized Audi deal­   Any implied warranty, including any warran­
                                        er had completed the repair(s). Reimburse­        ty of merchantability or warranty of fitness
                                        ment will be considered when you submit all       for a particular purpose, is limited in dura­
                                        of the following items to your authorized Audi    tion to the stated period of these written
                                        dealer:                                           warranties.

                                        - A statement explaining the circumstances        Incidental and consequential damages
                                         that prevented you from getting to an au­
                                                                                          These warranties do not cover any incidental
                                         thorized Audi dealer
                                                                                          or consequential damages, including loss of
                                        - Paid receipt(s)
                                                                                          resale value, lost profits or earnings, and
                                        - Repairorder(s)
                                                                                          out-of-pocket expenses for substitute trans­
                                        - Part(s) removed from your Audi
                                                                                          portation or lodging.
                                        Audi R8 Emergency Repairs                         Some states do not allow the exclusion or lim­
                                        Emergency repairs for the Audi R8 must be         itation of incidental or consequential damag­
                                        performed atari authorized Audi dealer with       es, so this limitation or exclusion may not ap­
                                        the designation Audi R8 Certified Point or        ply to you.
                                        Audi R8 Service Point. Contact Audi R8 Road­                                               Ifjjljlll
                                                                                            1                  SI il   8
                                        side Assistance to have the vehicle safely
                                        transported to the nearest Audi R8 Certified       In the event you have not received the
                                        Point or Audi R8 Service Point. Please see “The    services promised in these warranties,
                                        Audi 24-Hour Roadside Assistance Program”          please follow the procedures described in
                                        section of this booklet for contact informa­       this booklet under the title “Customer
                                        tion.                                              satisfaction and assistance".
                                                                                           - You may obtain further information re­
                                        Audi Q5 hybrid Emergency Repairs
                                                                                                garding the Emissions Performance War­
                                        Emergency repairs for the Audi Q5 hybrid                ranty or report violation of the terms of
                                        components must be performed at an Audi                 the Emissions Defect or Performance
                                        Q5 hybrid certified dealer. Contact Audi Road­          Warranty by contacting: US Environmen­
                                        side Assistance to have the vehicle safely              tal Protection Agency, Compliance and
                                        transported to the nearest Audi Q5 hybrid cer­          Innovation Strategy Division, Attention:
                                        tified dealer. Please see “The Audi 24-Hour             Emissions Warranty Claims, 2000Traver-
                                        Roadside Assistance Program" section for con­           wood Rd., Ann Arbor, MI 48105.
                                        tact information.

                                        Damage caused by tampering, use of                Kansas Safety Belt
                                        improper fuel, abuse, neglect and                 Limited Warranty
                                        improper maintenance
                                                                                          Applicable only to vehicles sold or registered
                                        These warranties do not cover any damage to
                                                                                          in the State of Kansas.
                                        the vehicle caused by tampering with emis­
                                        sion controls, use of fuel containing lead, or    For vehicles sold or registered in the State of
                                        fuel not meeting the specifications set forth     Kansas, safety belts and related safety belt
                                        in the Owner's Manual, and abuse, neglect or      components are warranted against defects in
                                        improper maintenance of the vehicle. Diagno-      manufacturer's materials and workmanship             p-
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                                         for a period often (10) years, regardless of      witnesses, and give supporting evidence. In­
                                         mileage.                                          stead of appearing in person, you may request
                                                                                           a written or even a telephone arbitration hear­
                                         Exclusions as defined in the New Vehicle
                                                                                           ing. The BBB shall make every effort to obtain
                                         Limited Warranty also apply to this warran-
                                                                                           a final resolution of your claim within 5 busi­
                                         ty-
                                                                                           ness days of the hearing (that is, within 40
                                                                                           days of when your claim was filed), unless
                                         Consumer Protection                               state or Federal law provides otherwise. You
                                         Information                                       then have the opportunity to accept or reject
                                                                                           the decision.
                                          Informal dispute mechanism
                                                                                           -If you accept the decision, the manufacturer
                                         If your authorized Audi dealer or Audi Cus­
                                                                                            will be bound by the decision and will be re­
                                         tomer Advocate has been unable to satisfac­
                                                                                             quired to fulfill its obligation within the
                                         torily address your concern, Audi offers addi­
                                                                                            timeframe specified by the arbitrator.
                                         tional assistance through BBB AUTO LINE, a
                                                                                           - If you reject the decision, you are free to
                                         dispute resolution program administered by
                                                                                             pursue other legal remedies available under
                                         the Council of Better Business Bureaus.
                                                                                            state or Federal law, and the manufacturer
                                         BBB AUTO LINE is free of charge to you but         will not be required to comply with any part
                                         there are some vehicle age and mileage limi­        of the decision.
                                         tations, so please call BBB AUTO LINE for
                                         more details:                                     State-Specific Warranty
                                         Tel.: 1 (800) 955-5100                            Enforcement Laws
                                         If you call BBB AUTO LINE, please be prepared      Local laws
                                         to provide the following information:
                                                                                           Each state has enacted warranty enforcement
                                         - Your name and address                           laws (commonly referred to as “lemon laws")
                                         - The Vehicle Identification Number (VIN)         that permit owners to obtain a replacement
                                         -The make, model, and modelyear of your           vehicle or a refund of the purchase price under
                                           vehicle                                         certain circumstances. Although the provi­
                                         - The delivery date and current mileage of        sions of these laws vary from state to state,
                                           your vehicle                                    their intent is to provide owners with certain
                                         -A description of the concern with your vehi-     rights if they experience significant service-re­
                                           cle                                             lated difficulties with their new vehicle.

                                         The BBB AUTO LINE program consists of two         IMPORTANT NOTICE: To the extent allowed
                                         parts: mediation and arbitration. Mediation       by each state’s law, Audi requires that the
                                         means that BBB staff will facilitate negotia­     owner first send written notification to Audi
                                         tions between the parties in an effort to bring   explaining the nonconformity that the owner
                                         your claim to a mutually acceptable resolu­       has experienced with the vehicle, and to allow
                                         tion. If you do not agree with the mediated       Audi the opportunity to make any needed re­
                                         solution, you may request an arbitration hear-    pairs before the owner pursues other rem­
                                         ing.                                              edies provided by that state's law (in all other
                                                                                           states where not specifically required by state
                                         Arbitration is a process by which an impartial
                                                                                           law, Audi requests that the owner provide the
                                         person makes a decision on your claim. The ar­
                                                                                           written notification). The owner should send
                                         bitrators are not connected with the automo­
                                                                                           written notification to:                            ►
                                         bile industry and serve on a voluntary basis.
                                         You may attend the hearing in person, bring
Case 1:21-cv-10546-ESK-EAP   Document 53-4         Filed 12/03/21              Page 20 of 33 PageID:                             Warranty             17
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                                        Audi of America, Inc.                               approximate date and mileage at the time any
                                        Audi Customer Experience Center                     problem(s) were first brought to the attention
                                        3800 Hamlin Road                                    of Audi or one of our dealers, and a statement
                                        Auburn Hills, MI 48326                              of the relief you are seeking.

                                        IMPORTANT NOTICE: Depending on the                  BBB AUTO LINE staff may try to help resolve
                                        state’s law, the owner may also be required to      your dispute through mediation. If mediation
                                        submit their complaint to BBB AUTO LINE be­         is not successful, or if you do not wish to par­
                                        fore seeking other remedies. Please refer to        ticipate in mediation, claims within the pro­
                                        the information under the title "Informal dis­      gram's jurisdiction may be presented to an ar­
                                        pute mechanism" in this booklet for more in­        bitrator at an informal hearing. The arbitra­
                                        formation about the BBB AUTO LINE dispute           tor's decision should ordinarily be issued with­
                                        resolution program.                                 in 40 days from the time your complaint is
                                                                                            filed; there may be a delay of 7 days if you did
                                        Because each state has enacted specific provi­
                                                                                            not first contact Audi about your problem, or
                                        sions as part of its lemon law, owners are ad­
                                                                                            a delay of up to 30 days if the arbitrator re­
                                        vised to research and follow the laws in their
                                                                                            quests an inspection/report by an impartial
                                        state.
                                                                                            technical expert or further investigation and
                                                                                            report by BBB AUTO LINE.
                                         NOTICE TO CALIFORNIA PURCHASERS
                                                                                            You are required to use BBB AUTO LINE before
                                        Audi participates in BBB AUTO LINE, a media­        asserting in court any rights or remedies con­
                                        tion/arbitration program administered by the        ferred by California Civil Code Section
                                        Council of Better Business Bureaus (3033 Wil­       1793.22. You are not required to use BBB AU­
                                i       son Boulevard, Suite 600, Arlington, Virginia       TO LINE before pursuing rights and remedies
                                        22201). BBB AUTO LINE and Audi have been            under any other state or Federal law.
                                        certified by the Arbitration Certification Pro­
                                                                                            California Civil Code Section 1793.2(d) re­
                                        gram of the California Department of Con­
                                                                                            quires that, if Audi or its representative is un­
                                        sumer Affairs.
                                                                                            able to repair a new motor vehicle to conform
                                        If you have a problem arising under an Audi         to the vehicle's applicable express warranty
                                        written warranty, we request that you bring it      after a reasonable number of attempts, Audi
                                        to our attention. If we are unable to resolve it,   may be required to replace or repurchase the
                                        you may file a claim with BBB AUTO LINE.            vehicle. California Civil Code Section
                                        Claims must be filed with BBB AUTO LINE             1793.22(b) creates a presumption that Audi
                                        within six (6) months after the expiration of       has had a reasonable number of attempts to
                                        the warranty.                                       conform the vehicle to its applicable express
                                                                                            warranties if, within 18 months from delivery
                                        To file a claim with BBB AUTO LINE, call:
                                                                                            to the buyer or 18,000 miles on the vehicle's
                                        Tel.: 1 (800) 955-5100                              odometer, whichever occurs first, one or more
                                ;!
                                        There is no charge for the call.                    of the following occurs:

                                        In order to file a claim with BBB AUTO LINE,        - The same nonconformity (a failure to con­
                                    2
                                        you will have to provide your name and ad­            form to the written warranty that substan­
                                        dress, the brand name and vehicle identifica­         tially impairs the use, value, or safety of the
                                        tion number (VIN) of your vehicle, and a              vehicle) results in a condition that is likely to
                                        statement of the nature of your problem or            cause death or serious bodily injury if the ve­
                                        complaint. You will also be asked to provide:         hicle is driven AND the nonconformity has
                                        the approximate date of your acquisition of           been subject to repair two or more times by
                                        the vehicle, the vehicle's current mileage, the       Audi or its agents AND the buyer or lessee          ►
Case 1:21-cv-10546-ESK-EAP   Document 18
                                      53-4 Warranty
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                                             has directly notified Audi of the need for the   Service Publications
                                             repair of the nonconformity; OR
                                           - The same nonconformity has been subject           Updated service information you can
                                             to repair 4 or more times by Audi or its
                                                                                               obtain
                                             agents AND the buyer has notified Audi of        Audi monitors product performance in the
                                             the need for the repair of the nonconformi-      field and regularly sends dealers the latest
                                             ty;OR
                                                                                              service information about Audi vehicles. Now
                                           -The vehicle is out of service by reason of the    you too, can get these bulletins. Your author­
                                             repair of nonconformities by Audi or its         ized Audi dealer or a qualified technician may
                                             agents for a cumulative total of more than       have to determine if a specific bulletin applies
                                             30 calendar days after delivery of the vehicle   to your vehicle. You can order Audi bulletins,
                                             to the buyer.                                    Audi repair information, and Owner's Litera­
                                           NOTICE TO AUDI AS REQUIRED ABOVE SHALL             ture 24 hours / 7 days a week on the Internet
                                           BE SENT TO THE FOLLOWING ADDRESS:                  from the Audi Technical Literature Ordering
                                                                                              Center at:
                                           Audi of America, Inc.
                                           Audi Customer Experience Center                    https://www.audi.techliterature.com
                                           3800 Hamlin Road
                                                                                               /y                   mi
                                           Auburn Hills, MI 48326
                                                                                               These bulletins are intended for qualified
                                           The following remedies may be sought in BBB
                                                                                               technicians. They are not meant for the
                                           AUTO LINE; repairs, reimbursement for mon­
                                                                                               CASUAL do-it-yourselfer. Qualified techni­
                                           ey paid to repair a vehicle or other expenses
                                                                                               cians have the equipment, tools, safety in­
                                           incurred as a result of a vehicle nonconformi­
                                                                                               structions, and know-howto do a job prop­
                                           ty, repurchase or replacement of your vehicle,
                                                                                               erly and safely. Improperly performed re­
                                           and compensation for damages and remedies
                                                                                               pairs or maintenance can adversely affect
                                           available under Audi's written warranty or ap­
                                                                                               the safety of your vehicle, possibly leading
                                           plicable law.
                                                                                               to accident or injury. They may also impair
                                           The following remedies may not be sought in         the economy, durability or reliability of
                                           BBB AUTO LINE; punitive or multiple damag­          your vehicle and may void the warranty of
                                           es, attorney fees, or consequential damages         your car. If you are not sure that you can
                                           other than as provided in California Civil Code     perform a job properly and safely, you
                                           Section 1794(a) and (b).                            should not risk trying to do so.

                                           You may reject the decision issued by a BBB
                                           AUTO LINE arbitrator. If you reject the deci­      Tire Manufacturers
                                           sion, you will be free to pursue further legal
                                                                                              List of tire manufacturers for new Audi
                                           action. The arbitrator's decision and any find­
                                                                                              vehicles
                                           ings will be admissible in a court action.
                                                                                              The Magnuson-Moss Warranty Federal Trade
                                           If you accept the arbitrator's decision, Audi
                                                                                              Commission Improvement Act of 1975 and
                                           will be bound by the decision, and will comply
                                                                                              regulations issued pursuant to the act require
                                           with the decision within a reasonable time not
                                                                                              that a tire warranty pamphlet be placed in ev­
                                           to exceed 30 days after we receive notice of
                                                                                              ery new vehicle prior to sale.
                                           your acceptance of the decision.
                                                                                              To assist you in obtaining the related warranty
                                           Please call BBB AUTO LINE for further details
                                                                                              information, the following list of tire manu­
                                           about the program.
                                                                                              facturers and addresses is being provided.         ►
Case 1:21-cv-10546-ESK-EAP   Document 53-4      Filed 12/03/21       Page 22 of 33 PageID:   Warranty   19
                                     944
                                      Manufacturer Addresses and Phone
                                      Numbers

                                      Dunlop Tire Corp.
                                      1144 East Market Street
                                      Akron, OH 44316
                                      Tel.: 1 (800) 548-4714

                                      Bridgestone/Firestone Inc.
                                      1 Bridgestone Park
                                      Nashville, TN 37214
                                      Tel.: 1 (800) 356-4644

                                      Goodyear Tire & Rubber Co.
                                      1144 East Market Street
                                      Akron, OH 44316
                                      Tel.: 1 (800) 321-2136

                                      Continental General
                                      1800 Continental Blvd.
                                      Charlotte, NC 28273 .
                                      Tel.: 1 (800) 847-3349

                                      Michelin Tire Corp.
                                      P.O. Box 19001
                                      Greenville, SC 29602-9001
                                      Tel.: 1 (800) 847-3435

                                      Pirelli Tires North America
                                      300 George Street, 5th Floor
                                      New Haven, CT06511
                                      Tel.: 1 (800) 747-3554

                                      ToyoTire U.S.A. Corp
                                      3261 Katella Ave., Suite 2B
                                      Cypress, CA 90630
                                      Tel.: 1 (800)442-8696

                                      Yokohama Tire Corporation
                                      601 South Acacia Avenue
                                      Fullerton, CA 92831
                                      Tel.: 1 (800) 722-9888
Case 1:21-cv-10546-ESK-EAP   Document20
                                      53-4 Maintenance
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                                           Maintenance                                         accept any liability for maintenance service,
                                                                                               repair, or any damage resulting from mainte­
                                           Where do I bring my                                 nance service or repair performed at a facility
                                           vehicle for service?                                that is not an authorized Audi dealer with the
                                                                                               designation Audi R8 Certified Point or Audi R8
                                            Authorized Audi dealers
                                                                                               Service Point.

                                           Audi recommends you take your vehicle only          Audi Q5 hybrid component repairs
                                           to authorized Audi dealers to ensure that ve­
                                                                                               To ensure that all Audi Q5 hybrid component
                                           hicle repairs are performed to the highest
                                                                                               repairs and services are performed properly,
                                           specifications. Your authorized Audi dealer
                                                                                               all repair and service work on the hybrid com­
                                           has the proper tools and equipment, the staff
                                                                                               ponents must be performed at an Audi Q5 hy­
                                           of trained specialists, and access to the exten­
                                                                                               brid certified dealer. To locate an Audi Q5 hy­
                                           sive range of parts necessary to properly
                                                                                               brid certified dealer near you, please refer to
                                           maintain your vehicle's safety, reliability, and
                                                                                               http://www.audiusa.com, or contact the Audi
                                           value for years to come.
                                                                                               Customer Experience Center at: 1 (800)
                                           Audi R8 Service and Repairs                         822-2834. Due to the specialized tools,

                                           Due to the specialized tools, equipment, and        equipment, and technical training necessary

                                           technical training necessary to perform serv­       to perform services and repairs, your Audi

                                           ice and repairs on the Audi R8, Audi recom­         warranties do not cover service, repair, or any

                                           mends that all maintenance service and repair       damage resulting from services or repairs per­

                                           work is performed at an authorized Audi deal­       formed at a facility that is not an Audi Q5 hy­

                                           er with the designation Audi R8 Certified           brid certified dealer.

                                           Point or Audi R8 Service Point. Audi will not


                                           When do I bring my vehicle in for service?
                                            Service intervals

                                           If you are not sure when you should bring            ' Service intervals in miles (kilornetej^)^-
                                           your Audi in for service or which services are
                                                                                                55,000 miles            Major Maintenance^
                                           to be performed on your vehicle, ask your au­
                                                                                                :85,OOOkm)              Service with addi-in"'':..’.'
                                           thorized Audi Service Advisor.
                                                                                                                        tlonal items;
                                           S;|s^wiceiinterva{sii;n,:jm'Ue!?,(lcitpm^           65,000 miles             Standard Mainte­
                                            5,000 miles               5tandard Mainte­          (100,000 km)            nance Service
                                                                                               ^5';000'mifes3             SlSt/MaifrlShiil^
                                            (8,000 km)3)              nance Service with
                                                                                               |ll5,00Qkra):
                                                                      tire rotation                                            ce with add^-


                                            (25>00a:km)'^
                                                                     m         rmterrarc
                                                                   Service With adctK          85,000 miles             Standard Mainte­
                                                                 iST':
                                           ms      SIT
                                                                                                (130,000 km)            nance Service
                                            2S,000 miles              standard Mainte­         ®5,o66 mites             Major Maintenance
                                            (40,000 km)               nance Service            |l45,000 km)             Service with addi- ,
                                                                                                                        tionaiitems_^^^'/■;]
                                           |35,000 rriiles
                                            (55,000 km)          \    Service with addi-'|;j    105,000 miles           Standard Mainte­
                                                                                                (160,000 km)            nance Service
                                                                                                  BBS
                                            45,000 miles              5tandard Mainte­
                                            (70,000 km)               nance Service
Case 1:21-cv-10546-ESK-EAP   Document 53-4            Filed 12/03/21                    Page 24 of 33 PageID:                           Maintenance          21

                                     946
                                       siil                                 WMW>                         The intervals shown in this table are based on
                                                                                                         vehicles operating under normal conditions.
                                            115,000 miles               Major Maintenance
                                                                                                         In case of severe conditions, such as extreme­
                                        (175,000 km)                    Service with addi­
                                                                                                         ly low temperatures, excessive dust, etc., it is
                                                                        tional items
                                                                                                         necessary for certain operations to be carried
                                                                                                         out in between the given intervals. This ap­
                                                                                                         plies particularly to engine oil changes and
                                                                                                         the cleaning or replacing of the air cleaner fil­
                                            130,000 miles               Timing Belt Replace-             ter element.
                                        (205,000 km)                    ment (Audi A3 2.0L
                                                                     c TDIonly)




                                            145,000 miles               Standard Mainte­
                                        (220,000 km)                    nance Service




                                             First standard maintenance service at 5,000 mites
                                             (8,000 km) or 1 year after delivery, whichever occurs
                                             first. Standard maintenance services thereafter occur
                                             at intervals of 10,000 mites (15,000 km) or 1 year af­
                                             ter the last standard maintenance service, whichever
                                             occurs first.
                                       b)    First major maintenance service at 15,000 miles
                                             (25,000 km) or 2 years after delivery, whichever oc­
                                             curs first. Major maintenance services thereafter occur
                                             at intervals of 20,000 miles (30,000 km) or 2 years
                                             after the last major maintenance service, whichever
                                             occurs first.

                                       Time-sensitive maintenance items

                                            Sen/ice interval by time (and mileage where                                 Maintenance item
                                                                 applicable)




                                        Every 2 years regardless of mileage (kilome­                   Check cloth top function and roll-over protec­
                                        ters)                                                          tion with cloth top down (Audi AS Cabriolet,
                                                                                                       Audi 55 Cabriolet, R8 Sypder only)




                                        Every 4 years regardless of mileage (kilome­                   AdBlue Fluid - Replace only if AdBlue has not
                                        ters)                                                          been filled within the last 4 years (Audi Q7 3.01
                                                                                                       TDI and A8 3.0LTDIonly)
Case 1:21-cv-10546-ESK-EAP   Document22
                                      53-4Maintenance
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                                                                            *                 Major Maintenance Service
                                                 For the sake of the envifonmen^

                                            By regularly maintaining your vehicle, you       First at 15,000 miles (25,000 km) or two
                                            help make sure that emission standards           years, whichever occurs first. Thereafter
                                            are maintained, thus minimizing adverse          every 20,000 miles (30,000 km) or two
                                                                                             years, whichever occurs first.
                                            effects on the environment.
                                                                                             - Battery - Check for clean terminals (no cor­
                                          Maintenance service                                  rosion), properly mounted housing and no
                                                                                              damage; replace if necessary. Also, check
                                          schedule
                                                                                              the acid level of battery only if the level can
                                           standard Maintenance Service                        be seen through the housing and fill if nec­
                                                                                              essary (except Audi Q5 hybrid).
                                          First at 5,000 miles (8,000 km) or 1 year
                                                                                             - Small (12 volt) side battery located in the
                                          after delivery, whichever occurs first.
                                          Thereafter every 10,000 miles (15,000               trunk compartment on left side - check for
                                          km) or one year, whichever occurs first.             clean terminals (no corrosion), properly
                                                                                               mounted housing and no damage; replace if
                                          - Engine oil / Oil filter - Change oil and re­
                                                                                               necessary (Audi Q5 hybrid only).
                                            place filter.
                                                                                             - Cooling system - Check coolant level and
                                          - Service reminder indicator display - Reset
                                                                                              add coolant if necessary.
                                            display.
                                                                                             - Engine compartment - Check for leaks.
                                          - Brake system - Check for damage and leaks,
                                                                                             - Exhaust system - Check for damage and
                                            thickness of pads, and brake fluid level.
                                                                                               leaks.
                                          - Wiper blades - Check condition and replace
                                                                                             - Underbody - Check for damage and leaks.
                                            if necessary.
                                                                                             - Automatic transmission and final drive -
                                          - Windshield washer and headlight washing
                                                                                              Check for leaks.
                                            system - Add fluid if necessary. Check ad­
                                                                                             - Manual transmission and final drive - Check
                                           justment and function.
                                                                                              for leaks.
                                          - Tires and spare wheel - Check for wear and
                                                                                             - Drive shafts - Check boots.
                                            damage. Check tire pressure. Reset Tire
                                                                                             - Front and rear axle - Check for excessive
                                            Pressure Monitoring System (TPMS).
                                                                                               play. Check dust seals on ball joints and tie
                                          - AdBlue fluid - Fill completely with fresh flu­
                                                                                               rod ends.
                                            id (24 liters) and adapt learned values for
                                                                                             - Horn - Check function.
                                            AdBlue tank under guided fault finding after
                                                                                             - Dust and pollen filter - Replace filter.
                                            filling fluid (Audi Q7 3.0LTDI, A8 3.0LTDI
                                                                                             - Snow screen for air cleaner - Clean (Audi A4,
                                            only).
                                                                                              S4, allroad, AS, AS Cabriolet, SS, SS Cabrio­
                                          - Onboard diagnosis - Check the engine fault
                                                                                              let, QS, QS hybrid only).
                                            memory (flex fuel vehicles only).
                                                                                             - Ribbed V-belt and tensioner - Check condi­
                                          Additional item at 5,000 miles (8,000               tion and replace if necessary (Audi R8
                                          km) or 1 year after delivery, whichever             Coupe, R8 Spyder only).
                                          occurs first.
                                                                                             - Plenum Panel - Remove cover for plenum
                                          - Rotate tires. Reset TPMS.                         panel to check water drain and clean if nec­
                                                                                              essary.
                                                                                             - Front lighting - Check function of parking
                                                                                              lights, low beams, high beams, fog lights,
                                                                                              blinkers & hazard lights.
                                                                                             - Rear lighting - Check function of brake lights
                                                                                              (including third brake light), tail lights.       ►
                                                                                                                                   Maintenance            23
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                                     948
                                        back-up lights, rear fog lights, license plate             - Rear sport differential - Change ATF for
                                        lights, blinkers & hazard lights.                            clutch hydraulics and differential oil (RS 5
                                      - Door hinges and straps - Lubricate (Audi Q7,                 only).
                                        A3, TT, ITS, R8 Coupe, R8 Spyder only).                    -Air cleaner^) - Clean housing and replace fil­
                                      - Hood lid hinges - Lubricate {R8 Coupe, R8                    ter element only on the following vehicles:
                                        Spyder, TT, ITS, TTRS).                                      (S6, S7, A8 3.0L V6 TDI, AS 3.0L V6 TFSI,
                                      - All sunroof systems- Clean guide rails and                   A8 4.0L V8 TFSI, ITS, TT RS).
                                        lubricate with grease.
                                                                                                   Perform first at 35,000 miles (55,000
                                      - Front latch for Cabriolet roof-lubricate (AS
                                                                                                   km) or 4 years, whichever occurs first.
                                        Cabriolet and SS Cabriolet)                                Thereafter every 40,000 miles (60,000
                                      - Spherical head couplings for tailgate gas                  km) or 4 years, whichever occurs first.
                                        springs: Retighten with 21 Nm (A3 only).
                                                                                                   - Haldex clutch - Change oil (Audi A3, TT, ITS,
                                      - Tire repair set - Check renewal date (where
                                                                                                     TT RS only).
                                        applicable).
                                                                                                   - Power steering fluid - Check fluid level [only
                                      - Road test - Check braking, kick-down, steer­
                                                                                                     A8, Q7, Q5 (except Q5 hybrid)]
                                        ing, electrical, heating and ventilation sys­
                                                                                                   - Brake discs - Check thickness.
                                        tems, air conditioning, (ASL) Automatic
                                                                                                   - Interior lights - Check all interior lights,
                                        Shift Lock, power accessories and reset driv­
                                                                                                     glove box compartment illumination, con­
                                        er information display.
                                                                                                     trol lights, and MMI (if applicable).
                                                                                                   - Doors - Lubricate door hinges, straps, locks,
                                       Additional Maintenance Items
                                                                                                     and hood latch.
                                      Perform at 15,000 miles (25,000 km)
                                                                                                   Perform first at 35,000 miles (55,000
                                      and thereafter every 20,000 miles
                                                                                                   km) or 6 years, whichever occurs first.
                                      (30,000 km).
                                                                                                   Thereafter, every 40,000 miles (60,000
                                      - Fuel filter - Replace (Audi A3 2.0L TDI, Audi              km) or 6 years, whichever occurs first.
                                        Q7 3.0LTDI, A8 3.0LTDI only).                              - Spark plugs^'- Replace only on the following
                                      - DSG/S tronic - Change MTF oil for gearbox                    vehicles: (A4 2.0LTFSI, AS 2.0LTFSI, AS
                                        (RS S only).                                                 Cabriolet, allroad, A6 2.0LTFSI, Q5 2.0L
                                      - Air cleaner - Clean the housing and replace                  TFSI, QS hybrid, TT, TTS, A8 W12 and all
                                        filter element (RS 5 only)                                   vehicles with 4.0L V8 TFSI engines).

                                      Perform first at 35,000 miles (55,000                        Perform first at 35,000 miles (55,000
                                      km) and thereafter every 40,000 miles                        km) or 6 years, whichever occurs first.
                                      (60,000 km).                                                 Thereafter, every 30,000 miles (45,000
                                                                                                   km) or 6 years, whichever occurs first.
                                      - Continuously variable transmission (multi-
                                ; i
                                        tronic™) - Change ATF.                                     - Spark plugs - Replace (Audi TT RS and 2.0L
                                      - Tiptronic gear box - Change ATF (Audi Q5 hy­                TFSI Flex Fuel engines only).                     ►
                                        brid only).
                                      - DSG/S tronic - Change ATF oil and replace
                                        transmission filter element for clutch hy­
                                h       draulics (Audi A3, TT, TTS, S4, SS, SS Cabrio­
                                        let, RS 5, S6, S7, R8 Coupe, R8 Spyder only).


                                      1) The S8 4.0L V8 TFSI engine is not inclucied in this in­
                                         terval. It must be performeid first at 55,000 miles
                                         (85,000 km) and thereafter every 60,000 miles
                                         (90,000 km).
                                      2) Excludes 2.0L TFSI Flex Fuel engines
                                         Maintenance
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                                   24
                                      53-4    Filed 12/03/21                           Page 27 of 33 PageID:
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                                          Perform first at 55,000 miles (85,000                         Perform after the first 125,000 miles
                                          km) and thereafter every 60,000 miles                         (205,000 km) or 120,000 miles
                                          (90,000 km).                                                  (195,000 km) after a Diesel Particulate
                                                                                                        Filter (DPF) replacement.
                                          - Air cleaner^^ - Clean the housing and replace
                                               the filter element (except on the following              - Diesel Particulate Filter (DPF) - Check ash
                                               vehicles: S6, S7, A8 3.0LV6 TDI, A8 3.0L V6                loading according to manufacturer work
                                               TFSI, A8 4.0 L V8 TFSI, ITS, TT RS).                       procedure; replace^' if necessary (Audi Q7
                                          - Ribbed V-belt - Replace only the belt for the                3.0LTDI, A8 3.0LTDI, A3 2.0LTDI only).
                                               compressor drive (front belt) (all vehicles
                                                                                                        Perform every 130,000 miles (205,000
                                               with the3.0lV6TFSI).                                     km).
                                          Perform at 55,000 miles (85,000 km) or                        - Timing belt - Replace. Check condition of
                                          6 years, whichever occurs first. Thereafter                    timing belt tensioning system, dampening
                                          every 60,000 miles (90,000 km) or 6
                                                                                                          pulleys, and idler pulleys and replace if nec­
                                          years whichever occurs first.
                                                                                                         essary (A3 2.0L TDI only)
                                          - Spark plugs - Replace (except on the follow­
                                               ing vehicles: A4 2.0L TFSI, AS 2.0L TFSI, AS
                                               Cabriolet, allroad, A6 2.0LTFSI, QS 2.0L
                                               TFSI, QS hybrid, TT, TTS, TT RS, A8 W12,
                                               vehicles with 2.0LTFSI Flex Fuel engines
                                               and all vehicles with 4.0LV8TFSI engines).

                                          Perform at 75,000 miles (115,000 km)
                                          and thereafter every 80,000 miles
                                          (120,000 km).

                                          - Ribbed V-belt - Check condition and replace
                                               if necessary. Check tension of belt drive with
                                               a manual tensioner and retension if neces­
                                               sary (TTRS, 2.01 TFSI, V6 FSI, 3.0LV6TFSI
                                               (rear most belt), 4.0L V8 TFSI, 4.2L V8 FSI,
                                               5.2L VIO FSI engines only)

                                          Perform every 110,000 miles (175,000
                                          km).
                                          - Timing belt - Replace. Check condition of
                                               timing belt tensioning system, dampening
                                               pulleys, and idler pulleys and replace if nec­
                                               essary (Audi TTS only).




                                          1)    The air cleaner replacement at this interval includes
                                                the S8 4.0LV8 TFSI engine.
                                          2)    If DPF replacement is not necessary, perform check
                                                every 20,000 miles (30,000 km) thereafter until re­
                                                placement becomes necessary.
Case 1:21-cv-10546-ESK-EAP   Document 53-4      Filed 12/03/21         Page 28 of 33 PageID:                        Maintenance         25
                                     950
                                        Record of Maintenance Services

                                       The Authorized Audi Dealer stamp in the boxes below is your record of each maintenance
                                       service performed.

                                        5,000 miles (8,000 km)        15,000 miles (25,000 km)      25,000 miles (40,000 km)
                                        maintenance service per­      maintenance service per­      maintenance service per­
                                        formed by:                    formed by:                    formed by:
                                        Authorized Audi Dealer Stamp: Authorized Audi Dealer Stamp: Authorized Audi Dealer Stamp:




                                        Date;                         Date:                         Date:
                                  I


                                        Miles (kilometers):           Miles (kilometers):           Miles (kilometers):


                                        35,000 miles (55,000 km)     45,000 miles (70,000 km)       55,000 miles (85,000 km)
                                        maintenance service per­      maintenance service per­      maintenance service per­
                                        formed by:                   formed by:                     formed by:
                                        Authorized Audi Dealer Stamp: Authorized Audi Dealer Stamp: Authorized Audi Dealer Stamp:




                                        Date:                         Date:                         Date:


                                        Miles (kilometers):           Miles (kilometers):           Miles (kilometers):


                                        65,000 miles (100,000 km)     75,000 miles (115,000 km)     85,000 miles (130,000 km)
                                        maintenance service per­      maintenance service per­      maintenance service per­
                                        formed by:                   formed by;                     formed by:
                                        Authorized Audi Dealer Stamp: Authorized Audi Dealer Stamp: Authorized Audi Dealer Stamp;




                                        Date:                         Date;                         Date:


                                        Miles (kilometers):          Miles (kilometers);            Miles (kilometers):             ►
                                  I
Case 1:21-cv-10546-ESK-EAP   Document2653-4Maintenance
                                               Filed 12/03/21           Page 29 of 33 PageID:
                                      951
                                            95,000 miles (145,000 km)     105,000 miles (160,000 km)    110,000 miles (Audi TTS on­
                                            maintenance service per­      maintenance service per­      ly) maintenance service per­
                                            formed by:                   formed by:                     formed by:
                                            Authorized Audi Dealer Stamp: Authorized Audi Dealer Stamp; Authorized Audi Dealer Stamp:




                                            Date:                         Date:                         Date:


                                            Miles (kilometers):           Miles (kilometers):           Miles (kilometers):


                                            115,000 miles (175,000 km) 125,000 miles (190,000 km)       130,000 miles (2.01 TDI only)
                                            maintenance service per­      maintenance service per­      maintenance service per­
                                           formed by:                    formed by:                     formed by:
                                            Authorized Audi Dealer Stamp: Authorized Audi Dealer Stamp: Authorized Audi Dealer Stamp:




                                            Date:                        Date:                          Date:


                                            Miles (kilometers):          Miles (kilometers):            Miles (kilometers):


                                            135,000 miles (205,000 km) 145,000 miles (220,000 km)       155,000 miles (235,000 km)
                                            maintenance service per­     maintenance service per­       maintenance service per­
                                           formed by:                    formed by:                     formed by:
                                           Authorized Audi Dealer Stamp: Authorized Audi Dealer Stamp: Authorized Audi Dealer Stamp:




                                            Date:                        Date:                          Date:


                                            Miles (kilometers):          Miles (kilometers):            Miles (kilometers):
Case 1:21-cv-10546-ESK-EAP   Document 53-4       Filed 12/03/21                  Page 30 of 33 PageID:                      Maintenance     27
                                     952
                                       Airbag Replacement                                  Airbag Replacement

                                      The airbag system can be deployed only once.        The airbag system can be deployed only once.

                                      After an airbag has inflated it must be re­         After an airbag has inflated it must be re­
                                      placed. The proper replacement of airbags           placed. The proper replacement of airbags
                                      will be entered into the record by your author­     will be entered into the record by your author­
                                      ized Audi Service Advisor.                          ized Audi Service Advisor.

                                       Front Airbag                                        Front Airbag
                                                 left                    right                      left                    right
                                       □                         □                         □                        □
                                       Side Airbag                                         Side Airbag
                                       left                      right                     left                     right
                                                                                                                            front
                                       □
                                                 front
                                                                 □       front
                                                                                           □        front
                                                                                                                    □
                                                                                                    rear                    rear
                                       □         rear
                                                                 □       rear
                                                                                           □                        □
                                       SIDECUARD                                           SIDEGUARD
                                                 left                    right                      left                    right
                                       □                         □                         □                        □
                                       Knee Airbag (where applicable)                      Knee Airbag (where applicable)
                                                 left                    right                      left
                                       □                         □                         □                        □       right




                                              Authorized Audi Dealer Stamp                        Authorized Audi Dealer Stamp


                                           Module replaced:                                    Module replaced;


                                                         Date:                                              Date;


                                         Next replacement:                                   Next replacement;


                                                         Date:                                              Date:
Case 1:21-cv-10546-ESK-EAP   Document 28
                                      53-4 Maintenance
                                             Filed 12/03/21               Page 31 of 33 PageID:
                                     953
                                            Speedometer replacement                         Delivery Inspection

                                            For speedometer replacement on your vehicle,                 Delivery Inspection
                                            ask your authorized Audi Service advisor.

                                            Federal Law requires that a label be affixed     Before your vehicle is delivered to you, it is
                                            to the left door frame when the replacement      inspected according to factory guidelines.
                                            odometer does not indicate the actual vehi­
                                            cle mileage after repair or replacement. Audi
                                                                                             The Delivery Inspection was performed on
                                            Genuine replacement speedometers are sup­
                                            plied with the label

                                                     Speedometer replacement
                                                                                                Month             Day             Year



                                                 Month             Day           Year
                                              (to be filled in by authorized Audi Dealer)


                                        I
                                        i

                                  : 1                      At mileage / km



                                                                                                   Authorized Audi Dealer Stamp




                                                    Authorized Audi Dealer Stamp
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                                         954
                                       I




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                                           I




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